     4:03-cr-03072-LES-DLP   Doc # 159   Filed: 02/14/07   Page 1 of 1 - Page ID # 977



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.

     CASE NUMBER             CAPTION                               HEARING DATE

     4:03CR3023       USA v. Luis G. Cortez                        5/14/03; 5/21/03
     4:03CR3036       USA v. Jill Marie Peterson                   5/15/-16/03
     4:03CR3071       USA v. John Raymond Kennon                   11/7/03
     4:03CR3072       USA v. Juan Zapata                           8/13/03
     4:03CR3166       USA v. Alfredo Morales, Jr.                  12/15/03



     DATED this 14th day of February, 2007.



                                         BY THE COURT

                                         s/ LYLE E. STROM
                                         United States Senior District Judge
